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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     BEAUMONT DIVISION

   KIMBERLY HARMON,                              §
                                                 §
                   Plaintiff,                    §
                                                 §
   v.                                            §          CIVIL ACTION NO. 1:20-CV-00460
                                                 §           JUDGE MICHAEL J. TRUNCALE
   TEXAS DEPARTMENT OF CRIMINAL                  §
   JUSTICE, and BRYAN COLLIER, in his            §
   official capacity as Executive Director,      §
                                                 §
                   Defendant.

                                       FINAL JUDGMENT

         From April 4, 2022, through April 7, 2022, the Court conducted a trial in the above

 referenced matter, including empaneling an impartial jury. After hearing the evidence from both

 parties, the jury returned a verdict in favor of Plaintiff Kimberly Harmon. The jury awarded

 Plaintiff $800,000 in damages for past mental anguish, anxiety, and emotional distress, and

 $1,000,000 in damages for wages and benefits. [Dkt. 74 at 3]. Because emotional distress damages

 are not recoverable under the Rehabilitation Act, see [Dkt. 106], Plaintiff’s recovery is limited to

 the $1,000,000 damages award for wages and benefits, plus reasonable fees and costs. See [Dkt.

 108].

         It is therefore:

         ORDERED, ADJUDGED, AND DECREED that Plaintiff Kimberly Harmon recover

 One Million Dollars ($1,000,000.00) from Defendants Texas Department of Criminal Justice and

 Bryan Collier, plus post-judgment interest, accruing from the date of this Final Judgment, at the

 rate provided by law.

         ORDERED, ADJUDGED, AND DECREED that Plaintiff Kimberly Harmon recover

 from Defendant Texas Department of Criminal Justice and Bryan Collier the following fees and
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 costs, plus post-judgment interest, accruing from the date of this Final Judgment, at the rate

 provided by law.

           •   $161,920.00 in attorney’s fees for Mr. Clayton Craighead’s services.

           •   $152,900.00 in attorney’s fees for Ms. Sarah Richey’s services.

           •   $9,652.50 in attorney’s fees for Mr. Eric Ruiz’s services.

           •   $1,016.00 in fees for Ms. Sara Rehem’s services.

           •   $4,701.37 for costs.

        ORDERED, ADJUDGED, AND DECREED that THIS IS A FINAL JUDGMENT,

 which disposes of all claims and causes of action, and is appealable. The Clerk of Court is

 INSTRUCTED to close this case and terminate all pending motions.

                                  SIGNED this 30th day of March, 2023.




                                                                  ____________________________
                                                                  Michael J. Truncale
                                                                  United States District Judge




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